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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: September 19, 2023                                     DC Docket #: 21-md-3010
Docket #: 23-910op                                           DC Court: SDNY (NEW YORK
Short Title: In re: Google LLC                               CITY)
                                                             DC Judge: Castel




                 NOTICE OF MOTION PLACED ON THE CALENDAR



A petition for writ of mandamus and related motions filed in the above-referenced case has been
added as a submitted case to the substantive motions calendar for Tuesday, October 3, 2023.

Inquiries regarding this case may be directed to 212-857-8595.
